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                                  SETTLEMENT AGREEMENT AND RELEASE
                     Los Paisano’s Meat Market Inc., and Michael Affronti (collectively “Defendants”), and
            Edgar David Olivares (“Olivares”), desire to avoid the costs, risks, and delays associated with
            litigation and therefore agree as follows:

                             1.      Definition.

                                     a.               “Agreement” shall mean this Settlement Agreement and
            Release.

                                     b.               “Days” shall mean consecutive calendar days.

                                     c.               “Plaintiff” shall mean Edgar David Olivares.


                                     d.               “Defendants” shall mean Los Paisano’s Meat Market Inc.,
            and Michael Affronti.

                                   e.            “Action” or “Lawsuit” refers to the lawsuit filed by
            Plaintiff against Defendants on December 31, 2020, in the United States District Court, Eastern
            District of New York, with Civil Action #: 20-CV-06375 (ARR)(RML).

                                 f.              “Court” means the United States District Court for the
            Eastern District of New York, the Honorable Allyne R. Ross, U.S.D.J., and the Honorable
            Robert M. Levy, U.S.M.J., presiding.

                                   g.             “Released Claims” shall mean any and all claims asserted
            (or that could have been asserted) under federal, state or local law on behalf of the Plaintiff that
            arose any time during the period of time from the first date that such individual worked for any
            of the Defendants through the date of this Agreement, that relate to or otherwise concern
            compensation, minimum wages, overtime, spread-of-hours, unpaid tips, wage statement or wage
            notice including all such claims for same arising under the Fair Labor Standards Act, New York
            Labor Law, and any other federal, state or local law or common law, including for liquidated
            damages, interest, penalties, and attorneys’ fees and costs or expenses of any nature related to
            such claims for the periods of time in which the Plaintiff worked for any of the Defendants..

                          2.      Consideration.     In consideration for Plaintiff’s execution of and
            compliance with this Agreement, including Plaintiff’s waiver and release of all claims as stated
            herein, Defendants agree to make the following payments totaling Thirty-Five Thousand Dollars
            and Zero Cents ($35,000.00):

                                  a.              A check made payable to “Edgar David Olivares” in the
            amount of Three Thousand Seven Hundred Fifty-Two Dollars and Zero Cents ($3,752.00), less
            applicable taxes and withholdings, to be reported on an IRS Form W-2 due within thirty (30)
            days of court approval of this settlement agreement;


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                                  b.          A check made payable to “Edgar David Olivares” in the
            amount of Three Thousand Seven Hundred Fifty-Three Dollars and Zero Cents ($3,753.00), to
            be reported on an IRS Form 1099-MISC (Box 3), due within thirty (30) days of court approval of
            this settlement agreement;

                                   c.             A check made payable to “Abdul Hassan Law Group,
            PLLC,” in the amount of Four Thousand One Hundred Sixty-One Dollars and Zero Cents
            ($4,161.00), representing partial payment of a 1/3 contingency fee ($11,258.00) plus costs
            ($1,225.00), to be reported on an IRS Form 1099-MISC (Box 14) due within thirty (30), days of
            court approval of this settlement agreement;

                                  d.              A check made payable to “Edgar David Olivares” in the
            amount of Three Thousand Seven Hundred Fifty-Two Dollars and Zero Cents ($3,752.00), less
            applicable taxes and withholdings, to be reported on an IRS Form W-2 due within sixty (60)
            days of court approval of this settlement agreement;

                                  e.          A check made payable to “Edgar David Olivares” in the
            amount of Three Thousand Seven Hundred Fifty-Three Dollars and Zero Cents ($3,753.00), to
            be reported on an IRS Form 1099-MISC (Box 3), due within sixty (60) days of court approval of
            this settlement agreement;

                                   f.             A check made payable to “Abdul Hassan Law Group,
            PLLC,” in the amount of Four Thousand One Hundred Sixty-One Dollars and Zero Cents
            ($4,161.00), representing partial payment of a 1/3 contingency fee ($11,258.00) plus costs
            ($1,225.00), to be reported on an IRS Form 1099-MISC (Box 14) due within sixty (60), days of
            court approval of this settlement agreement;
                                   g.             A check made payable to “Edgar David Olivares” in the
            amount of Three Thousand Seven Hundred Fifty-Two Dollars and Zero Cents ($3,752.00), less
            applicable taxes and withholdings, to be reported on an IRS Form W-2 due within ninety (90)
            days of court approval of this settlement agreement;

                                  h.         A check made payable to “Edgar David Olivares” in the
            amount of Three Thousand Seven Hundred Fifty-Five Dollars and Zero Cents ($3,755.00), to be
            reported on an IRS Form 1099-MISC (Box 3), due within ninety (90) days of court approval of
            this settlement agreement;

                                   i.             A check made payable to “Abdul Hassan Law Group,
            PLLC,” in the amount of Four Thousand One Hundred Sixty-One Dollars and Zero Cents
            ($4,161.00), representing partial payment of a 1/3 contingency fee ($11,258.00) plus costs
            ($1,225.00), to be reported on an IRS Form 1099-MISC (Box 14) due within ninety (90), days of
            court approval of this settlement agreement;

                                   j.             The payments in Sections 2(a), (b), (c), (d), (e), (f), (g), (h)
            and (i) above shall be sent by overnight delivery to the office of Plaintiff’s counsel, Abdul K.
            Hassan, Esq., located at 215-28 Hillside Avenue, Queens Village, NY 11427.


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                                   k.           Plaintiff agrees and acknowledges that Defendants and
            their counsel have not made any representation to Plaintiff regarding the tax consequences of any
            payments or amounts received by Plaintiff pursuant to this Agreement.

                                  l.              In the event Defendants are in default of any of the
            payments required in Sections 2(a), (b) and/or (c) above, Plaintiff or his counsel, will give
            Defendants written notice of said default via, certified mail and email to Defendants’ counsel,
            Certilman Balin Adler & Hyman, LLP, attn: Mr. Douglas Rowe, Esq. at 90 Merrick Ave., 9th
            Floor, East Meadow, New York 11554, drowe@certilmanbalin.com. Defendants will have ten
            (10) days from receipt of such notice to cure the default. If Defendants do not cure the default
            within ten (10) days of the notice, Plaintiff and his counsel shall have the right to a judgment or
            supplemental judgment against Defendants in the amount of Forty-Seven Thousand Five
            Hundred Dollars and Zero Cents ($47,500.00) less any monies paid by Defendants at the time of
            default. The Court shall retain and have authority and jurisdiction to enter such judgment or
            supplemental judgment in favor of Plaintiff and his counsel.

                          3.      No Consideration Absent Execution of This Agreement. Plaintiff
            understands and agrees he would not receive the monies and/or benefits specified in Paragraph 2
            above, except for his execution of this Agreement and the discontinuance of the Action with
            prejudice.

                             4.      Mutual Release of Claims.

                                   a.      By operation of the entry of an Order approving the this
            Agreement, and except as to such rights or claims as may be created by this Agreement, Plaintiff
            forever and fully releases all Defendants, the respective owners, members, stockholders,
            predecessors, successors, assigns, agents, directors, officers, employees, representatives,
            attorneys, parents, subsidiaries, affiliates, benefits plans, plan fiduciaries, and/or administrators
            of any of them, and all persons acting by, through, under or in concert with any of them from the
            Released Claims, as defined in Section 1(g) of this Agreement.

                                   b.        Except as otherwise expressly provided in this Agreement,
            Plaintiff, hereby irrevocably and unconditionally releases, acquits, and forever discharges any
            claim that he may have against Defendants for attorneys’ fees or costs or expenses associated
            with Plaintiff’s counsel’s, or any other attorney’s, representation of any of the individuals in this
            Action. Plaintiff’s counsel further understands and agrees that any fee payments and cost and
            expense reimbursement, if any, payable to Plaintiff’s counsel approved by the Court will be the
            full, final and complete payment of all attorneys’ fees, costs and expenses associated with
            Plaintiff’s Counsel’s representation of the plaintiff in the Action.

                                    c.      By operation of the entry of an Order approving this Agreement,
            and except as to such rights or claims as may be created by this Agreement, Defendants
            knowingly and voluntarily releases and forever discharges Plaintiff of and from any and all
            claims, debts, obligations or liability whatsoever, whether known or unknown, that it has or may
            have against Plaintiff, as of the date of execution of this Agreement.


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                             5.      Acknowledgments and Affirmations.

                                   a.      Plaintiff affirms that in the Action he has asserted a claim in
           seeking unpaid wage or overtime pay under the Fair Labor Standards Act, the New York State
           Labor Law, and/or any other law, regulation or basis and affirms that there is a bona fide dispute
           as to such FLSA claims which are being settled and released by this Agreement. Plaintiff
           believes that this settlement is fair and reasonable, and authorizes his attorney to seek from the
           Court approval of the settlement as fair and reasonable under the FLSA, and dismissal of the
           Action with prejudice.

                           6.      Cooperation Between the Parties; Further Acts. The Parties shall
            reasonably cooperate with each other and shall use their reasonable best efforts to obtain the
            Court’s approval of this Agreement and all of its terms. Each party, upon the request of any
            other party, agrees to perform such further acts and to execute and deliver such other documents
            as are reasonably necessary to carry out the provisions of this Agreement.

                           7.      Governing Law and Interpretation. This Agreement shall be governed
            and conformed in accordance with the laws of the State of New York without regard to its
            conflict or choice of law provisions. In the event the Plaintiff or Defendants breaches any
            provision of this Agreement, Plaintiff and Defendants affirm that either may institute an action to
            specifically enforce any term or terms of this Agreement. If the release language is found to be
            illegal or unenforceable, Plaintiff and Defendants agree to execute a binding replacement
            release(s).

                           8.      Amendment. Except as provided in Paragraph 7 above, this Agreement
            may not be modified, altered or changed without the express written consent of both parties
            wherein specific reference is made to this Agreement.

                            9.      Resolution of Disputes. The parties agree that the Court in this action
            shall retain jurisdiction to resolve any disputes arising out of this Agreement and the settlement
            of this action.

                           10.    Non-admission of Wrongdoing. The parties agree that neither this
            Agreement nor the furnishing of the consideration for this Agreement shall be deemed or
            construed at any time for any purpose as an admission by either party of any liability or unlawful
            conduct of any kind.

                            11.     Entire Agreement. This Agreement sets forth the entire agreement
            between the parties hereto, and fully supersedes any prior agreements or understandings between
            the parties. Plaintiff acknowledges he has not relied on any representations, promises, or
            agreements of any kind made to him in connection with his decision to accept this Agreement,
            except for those set forth in this Agreement, and Plaintiff’s consent to this Agreement is given
            freely, voluntarily, and with full knowledge and understanding of this Agreement’s contents.




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                           12.    Section Headings. Section headings are used herein for convenience of
            reference only and shall not affect the meaning of any provision of this Agreement.

                           13.    Legal Fees. Except as provided for in this Agreement, each party will be
            responsible for its own legal fees or costs, if any, incurred in connection with the negotiation,
            settlement and delivery of this Agreement.

                            14.     Joint Participation in Preparation of Agreement.             The Parties
            participated jointly in the negotiation and preparation of this Agreement, and each party has had
            the opportunity to obtain the advice of legal counsel and to review, comment upon, and redraft
            this Agreement. Accordingly, it is agreed that no rule of construction shall apply against any
            party or in favor of any party. This Agreement shall be construed as if the Parties jointly
            prepared this Agreement, and any uncertainty or ambiguity shall not be interpreted against any
            one party and in favor of the other.

                           15.     Competency to Waive Claims. At the time of considering or executing
            this Agreement, Mr. Olivares was not affected or impaired by illness, use of alcohol, drugs or
            other substances or otherwise impaired. Mr. Olivares is competent to execute this Agreement.

                          IN WITNESS WHEREOF, the parties hereto knowingly and voluntarily executed
            this Agreement and Release as of the date set forth below:


            PLAINTIFF:                                           DEFENDANT:

            EDGAR OLIVARES                                       LOS PAISANO’S MEAT MARKET INC.

            By:________________________________                  By:_________________________________
                         8/20/2021
            Date: ______________________________                 Print Name __________________________

                                                                 Title________________________________

                                                                 Date: _______________________________


                                                                 DEFENDANT:

                                                                 MICHAEL AFFRONTI

                                                                 By:_________________________________

                                                                 Date: ______________________________




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